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United States District Court
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
KATELYN HANKS §
§
v, § CIVIL ACTION NO, 3:19-CV-2062-S
§
CAO TRINH d/b/a SUPER WASH & §
DRY and TRANS SHOPPING §
CENTER §

ORDER
This Order addresses the parties’ Unopposed Motion to Approve Consent Decree and
Dismiss Defendants, Cao Trinh, d/b/a/ Super Wash & Dry, and Trans Shopping Center with
Prejudice [ECF No. 10]. The Court understands the parties have settled this case, and therefore
grants the Motion to Dismiss the case with prejudice. Unless otherwise agreed, each party will

bear their own attorneys’ fees and costs. All relief not expressly granted is denied.

SO ORDERED.

SIGNED October 3, 2019. Ker end

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 
